USCA11 Case: 23-12424    Document: 103-1     Date Filed: 08/20/2024   Page: 1 of 19




                                                   [DO NOT PUBLISH]
                                    In the
                 United States Court of Appeals
                          For the Eleventh Circuit

                           ____________________

                                  No. 23-12424
                            Non-Argument Calendar
                           ____________________

        WILLIAM H. MELENDEZ,
                                                       Plaintiﬀ-Appellee,
        versus
        SECRETARY OF THE STATE OF FLORIDA DEPARTMENT OF
        CORRECTIONS, et al.,


                                                             Defendants,


        BARRY REDDISH,
        Warden of Florida State Prison,
        ERIC HUMMEL,
        Regional Director,
        JOHN PALMER,
USCA11 Case: 23-12424     Document: 103-1     Date Filed: 08/20/2024   Page: 2 of 19




        2                      Opinion of the Court               23-12424

        Assistant Regional Director,
        P. HUNTER,
        Classiﬁcation Oﬃcer,
        KEVIN TOMLINSON,
        Classiﬁcation Supervisor, et al.,


                                                   Defendants-Appellants.


                             ____________________

                  Appeals from the United States District Court
                       for the Middle District of Florida
                    D.C. Docket No. 3:20-cv-01023-BJD-JBT
                            ____________________

                             ____________________

                                    No. 23-12685
                             Non-Argument Calendar
                             ____________________

        WILLIAM H. MELENDEZ,
                                                        Plaintiﬀ-Appellee,
        versus
        WARDEN, FLORIDA STATE PRISON, et al.,
USCA11 Case: 23-12424     Document: 103-1      Date Filed: 08/20/2024    Page: 3 of 19




        23-12424               Opinion of the Court                        3

                                                                Defendants,


        ROBERT BROWN,
        WILLIAM HALL,
        DANIEL PHILBERT,
        Correctional Oﬃcers,


                                                    Defendants-Appellants.


                             ____________________

                   Appeals from the United States District Court
                        for the Middle District of Florida
                     D.C. Docket No. 3:20-cv-01023-BJD-JBT
                             ____________________

        Before ROSENBAUM, GRANT, and LAGOA, Circuit Judges.
        PER CURIAM:
               This appeal invites us to decide whether various officials em-
        ployed by the Florida Department of Corrections (the “FDC”) are
        entitled to summary judgment based on qualified immunity. The
        FDC officials (collectively, the “Defendants”) appeal the denial of
        their summary judgment motion, in which they asserted qualified
        immunity as to William Melendez’s 42 U.S.C. § 1983 claims that
        they subjected him to unconstitutional conditions of confinement.
        The district court denied summary judgment because it
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        4                         Opinion of the Court                     23-12424

        determined that the record raised a genuine issue of material fact.
        Because the Defendants’ appeal hinges on issues of evidentiary suf-
        ficiency, which we lack interlocutory jurisdiction to review, we dis-
        miss this appeal.
                                I.      BACKGROUND
                Before his release from prison in February 2024, Melendez,
        now sixty-four-years-old, was an inmate of the Florida penal sys-
        tem. 1 While incarcerated in 2021, he filed a second amended com-
        plaint for damages and injunctive relief against the Defendants, the
        FDC and other state officials. Melendez brought claims under
        § 1983, alleging violations under the First, Eighth, and Fourteenth
        Amendments, as well as violations of the Americans with Disabili-
        ties Act and the Rehabilitation Act of 1973.
               At issue in this appeal are Melendez’s Eighth Amendment
        conditions-of-confinement claims against Defendants Davis, Hum-
        mel, Palmer, McClellan, Reddish, Hunter and Tomlinson (the
        “Managerial Defendants”); and Defendants Brown, Hall, and Phil-
        bert (the “Officer Defendants”).
               The conditions-of-confinement claims against the Manage-
        rial and Officer Defendants have been thoroughly litigated through
        preliminary injunction proceedings. A previous panel of our Court
        affirmed the district court’s entry of a preliminary injunction, find-
        ing that the district court did not clearly err in determining that


        1 Melendez’s brief notes that he was released from prison in February 2024 but

        that he remains on mandatory supervised release until September 2024.
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        23-12424               Opinion of the Court                        5

        Menendez was likely to succeed on the merits of his Eighth
        Amendment claim. See Melendez v. Sec’y, Fla. Dep’t of Corr., 21-
        13455, 2022 WL 1124753 (11th Cir. Apr. 15, 2022) (“Melendez I”).
        The factual allegations that are relevant to this appeal remain
        largely the same as in Melendez I.
                Melendez was first placed in FDC custody in October 2011.
        In his second amended complaint, Melendez claimed that, for
        much of his time in prison, the Defendants classified him as “Close
        Management” (“CM”), which FDC uses to isolate inmates that
        FDC has determined cannot remain in the general prison popula-
        tion without abusing the rights and privileges of others. See Melen-
        dez I, 2022 WL 1124753, at *1. Melendez also claimed that he was
        kept in “CM I,” the most restrictive level of CM. Id. He alleged
        that the Defendants, through their CM-related practices and poli-
        cies, subjected him “to a substantial risk of serious harm and de-
        prived him of the minimal civilized measure of life’s necessities and
        basic human dignity by exposing him to excessive periods of isola-
        tion in deplorable conditions.” Id. And he alleged that the Defend-
        ants knew of these deprivations but remained deliberately indiffer-
        ent to them by failing to respond in a reasonable manner, in viola-
        tion of the Eighth Amendment. Id.              Following our decision in Melendez I and after extensive dis-
        covery, the Managerial and Officer Defendants moved for sum-
        mary judgment on all counts, arguing, among other things, that
        they were entitled to qualified immunity on Melendez’s Eighth
        Amendment claim. Of relevance to this appeal, the district court
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        6                        Opinion of the Court               23-12424

        denied the summary judgment motions on Melendez’s Eighth
        Amendment claim after concluding that a reasonable jury could
        find that the Managerial and Officer Defendants knowingly sub-
        jected Melendez to conditions of confinement that were clearly es-
        tablished to be unconstitutional.
              Both sets of Defendants then filed interlocutory appeals,
        which we consolidated for review.
                        II.      STANDARDS OF REVIEW
               “We review de novo a district court’s denial of summary
        judgment based on qualified immunity, applying the same legal
        standards that governed the district court.” Feliciano v. City of Mi-
        ami Beach, 707 F.3d 1244, 1247 (11th Cir. 2013). This requires us to
        construe the evidence and draw all inferences in the light most fa-
        vorable to the plaintiff. Id. We also review our jurisdiction de novo.
        Cavalieri v. Avior Airlines C.A., 25 F.4th 843, 848 (11th Cir. 2022).
                                   III.   ANALYSIS
                 “We have a threshold obligation to ensure that we have ju-
        risdiction to hear an appeal.” Corley v. Long-Lewis, Inc., 965 F.3d
        1222, 1227 (11th Cir. 2020). When qualified immunity is denied at
        summary judgment, “the type of issue involved” determines
        whether we have interlocutory jurisdiction. Koch v. Rugg, 221 F.3d
        1283, 1295 (11th Cir. 2000). When an appellant raises “core quali-
        fied immunity” questions, which involve legal issues underlying
        the analysis, we have jurisdiction over the appeal. Id. (quoting Cot-
        trell v. Caldwell, 85 F.3d 1480, 1484 (11th Cir. 1996)). But we lack
        jurisdiction when the “issue presented in the qualified immunity
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        23-12424                Opinion of the Court                          7

        context challenges only sufficiency of the evidence relative to a
        ‘predicate factual element of the underlying constitutional tort.’”
        Id. at 1296 (quoting Dolihite v. Maughon ex rel. Videon, 74 F.3d 1027,
        1033 n.3 (11th Cir. 1996)). These cases “are not immediately ap-
        pealable final decisions since they involve the determination of
        ‘facts a party may, or may not, be able to prove at trial.’” Id. (quot-
        ing Johnson v. Jones, 515 U.S. 304, 313 (1995)).
                Our traditional framing of the two components of the qual-
        ified immunity analysis illustrates how to distinguish between cog-
        nizable issues on appeal and those which we lack jurisdiction to re-
        view:
               First, what was the official’s conduct, based on the
               pleadings, depositions, and affidavits, when viewed in
               the light most favorable to the non-moving party?
               Second, could a reasonable public official have be-
               lieved that such conduct was lawful based on clearly
               established law?
         Stanley v. City of Dalton, Ga., 219 F.3d 1280, 1286–87 (11th Cir. 2000)
        (quoting Johnson v. Clifton, 74 F.3d 1087, 1091 (11th Cir. 1996)).
                The second issue is a pure question of law, and its resolution
        constitutes a final order that is immediately appealable. Id. When
        such a ruling is appealed, we may also address the first issue, one
        of fact, “because it is part of the core qualified immunity analysis.”
        Id. (quoting Anderson v. Creighton, 483 U.S. 635, 641, (1987)). If only
        the first issue is appealed, though, we have no jurisdiction to hear
        the case. Id.; see also English v. City of Gainesville, 75 F.4th 1151,
        1155–56 (11th Cir. 2023) (“Our precedents ‘establish only that a
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        8                      Opinion of the Court                  23-12424

        plaintiff may not base an interlocutory appeal on the district court’s
        first determination by itself. . . . When both core qualified immun-
        ity issues are involved, we have jurisdiction for de novo review.’”
        (alteration adopted) (quoting Koch, 221 F. 3d at 1296)).
               In light of these standards, we lack jurisdiction to entertain
        this appeal. Although largely presented under the guise of a legal
        challenge, the Defendants’ arguments turn entirely on a dispute of
        the district court’s factual inferences, rather than on its conclusions
        of law. The Managerial and Officer Defendants present similar,
        though not identical, arguments. We address each group of De-
        fendants in turn.
                                       A.
                To explain why this appeal involves challenges based only
        on evidentiary sufficiency, we begin with a brief overview of the
        relevant law. Melendez’s conditions-of-confinement claim re-
        quires an objective and a subjective showing. Thomas v. Bryant, 614
        F.3d 1288, 1304 (11th Cir. 2010). Under the objective prong, he
        must show “a deprivation or injury that is ‘sufficiently serious’ to
        constitute a denial of the ‘minimal civilized measure of life’s neces-
        sities.’” Id. (quoting Farmer v. Brennan, 511 U.S. 825, 834 (1994)). As
        to the subjective prong, he must demonstrate that each official had
        a “sufficiently culpable state of mind.” Id. (quoting Farmer, 511 U.S.
        at 834). On appeal, the Managerial Defendants argue that Melen-
        dez failed to satisfy either prong.
               Regarding the objective prong, the Managerial Defendants
        dress their arguments in legal garb, but careful review reveals a
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        23-12424               Opinion of the Court                         9

        dispute of fact. For instance, they contend that Melendez’s condi-
        tions of confinement did not amount to a constitutional violation
        because the district court erroneously determined that CM equates
        to solitary confinement—and determining what constitutes soli-
        tary confinement is a legal question that grants us jurisdiction. But
        this baldly mischaracterizes both Melendez’s claim and the district
        court’s order.
                Whether CM is properly classified as solitary confinement
        or something lesser, like administrative segregation, matters not.
        Indeed, neither “administrative segregation” nor “solitary confine-
        ment” is independently sufficient to support a conditions-of-con-
        finement claim. See Sheley v. Dugger, 833 F.2d 1420, 1428–29 (11th
        Cir. 1987). But Melendez’s claim, and the district court’s denial of
        qualified immunity, was not solely based on Melendez’s placement
        in CM. Rather, it was based on a combination of conditions, in-
        cluding the length of time that Melendez was kept in CM, the dep-
        rivation of Melendez’s right to exercise, the deprivation of his right
        to shower, and the impact that these deprivations had on his men-
        tal illness.
                The Managerial Defendants do not raise any legal argu-
        ments premised on the undisputed facts, but rather dispute the dis-
        trict court’s factual conclusions themselves. There is, therefore, no
        question of law for us to consider as to the objective prong. See
        Stanley, 219 F.3d at 1286–87.
             As to the subjective prong, the Managerial Defendants’ ar-
        guments fare no better. They contend that Melendez cannot show
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         10                    Opinion of the Court                23-12424

         “actual personal involvement or policy decisions which would jus-
         tify a finding that [the Managerial Defendants] were responsible for
         [Melendez’s] alleged unconstitutional conditions,” including “that
         it was the decision of [the Managerial Defendants] to place [Melen-
         dez] in the alleged unconstitutional conditions.” But these argu-
         ments directly contradict the district court’s findings of fact.
                “Whether a particular defendant has subjective knowledge
         of the risk of serious harm is a question of fact.” Goebert v. Lee
         County, 510 F.3d 1312, 1327 (11th Cir. 2007). It can be demon-
         strated by “inference from circumstantial evidence, and a factfinder
         may conclude that a prison official knew of a substantial risk from
         the very fact that the risk was obvious.” Id. (quoting Farmer, 511
         U.S. at 842).
                Here, the district court conducted an individualized analysis
         as to each Managerial Defendant and determined that all of them
         were repeatedly notified of Melendez’s deprivations and how they
         were affecting his mental health. For instance, Defendant Reddish,
         the former Warden of Florida State Prison, signed at least three re-
         sponses to grievances that Melendez sent to him. Reddish also
         emailed others in response to a letter from Melendez’s counsel that
         alerted him to Melendez’s prolonged isolation, his conditions
         therein, and his severe mental illness. As another example, Defend-
         ant Hunter, who was responsible for monitoring and reporting
         signs of self-injurious behavior among prisoners, including Melen-
         dez, also received a grievance notifying her of Melendez’s contin-
         ued placement in CM and its deleterious effects on his mental and
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         23-12424                  Opinion of the Court                             11

         physical health. And Defendants Reddish and Hunter were both
         part of Melendez’s institutional classification team, which repeat-
         edly decided to keep him on CM status.
                 In its order denying summary judgment, the district court
         recounted similar evidence as to every Managerial Defendant. For
         example, the district court noted that Melendez sent Hummel and
         Palmer a letter in April 2019, in which he complained about staff
         abuse and long-term lockdowns—totaling 761 days—with no op-
         portunity for recreation or socialization.2 Likewise, Melendez’s
         lawyer sent a letter to Palmer’s office in August 2020 complaining
         of the “troubling pattern of ongoing abuse” that Melendez was suf-
         fering, resulting in self-injurious behaviors. Davis, too, received a
         letter from Melendez’s lawyer in August 2021, detailing the condi-
         tions of Melendez’s confinement, including staff abuse, shower
         deprivation, exercise deprivation, and his resultant physical and
         mental injuries. As to McClellan, the district court noted that he
         received emails from Melendez’s lawyer in July 2018 and August
         2021 (the same correspondence as Davis). The July 2018 letter
         stated that Melendez’s “mental health ha[d] deteriorated substan-
         tially” since he was first placed in CM, and McClellan responded to
         that letter confirming that the complaints “ha[d] been docu-
         mented” and that Melendez would be evaluated by medical and


         2 The district court noted that Hummel and Palmer both testified that they did

         not remember receiving this letter. Of that, the district court concluded that
         whether Hummel or Palmer had subjective knowledge was a disputed fact for
         a jury to determine.
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         12                      Opinion of the Court                  23-12424

         mental health staff. The district court also concluded that McClel-
         lan “had first-hand knowledge of [Melendez’s] confinement sta-
         tus,” including the length of time he had been in CM, because “he
         chaired many of [Melendez’s] CM review hearings” and had au-
         thorized various requests to suspend Melendez’s phone, visitation,
         day room, and educational programming privileges. Finally, as to
         Tomlinson, the district court determined that he was aware of
         Melendez’s acts of self-harm and his refusal of several mental
         health evaluations, from which a reasonable jury could conclude
         Tomlinson had subjective knowledge of a substantial risk of serious
         harm.
                Ultimately, the court found that Melendez had produced
         enough evidence for a reasonable jury to conclude that each Man-
         agerial Defendant was subjectively aware that Melendez faced a
         substantial risk of serious harm as a result of his confinement con-
         ditions. As with the objective prong, the Managerial Defendants
         present no legal arguments on the subjective prong that fall within
         our interlocutory appellate jurisdiction. See Koch, 221 F.3d at 1295.
                On appeal, none of the Managerial Defendants’ arguments
         in support of qualified immunity assert that, accepting the record
         as construed by the district court, they are still entitled to qualified
         immunity. There is thus no question of law for us to decide be-
         cause the Managerial Defendants only challenge “the factual infer-
         ences that the district court drew from a series of circumstances.”
         See Hall v. Flournoy, 975 F.3d 1269, 1278 (11th Cir. 2020). Because
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         23-12424               Opinion of the Court                       13

         their arguments rest on factual disputes, and not legal ones, we lack
         jurisdiction to consider them.
                 Finally, the Managerial Defendants also challenge the dis-
         trict court’s decision not to consider certain evidence. We also lack
         interlocutory jurisdiction over that argument since it similarly does
         not concern any “core qualified immunity” issues and does not in-
         volve “the application of established legal principles to a given set
         of facts.” See Koch, 221 F.3d at 1296. And we may not exercise pen-
         dent jurisdiction over this evidentiary determination either, be-
         cause we have concluded that we lack jurisdiction over the Mana-
         gerial Defendants’ underlying qualified immunity challenge. See
         King v. Cessna Aircraft Co., 562 F.3d 1374, 1379–80 (11th Cir. 2009)
         (finding that pendent jurisdiction can be exercised over non-appeal-
         able issues when they are “inextricably intertwined” with a deci-
         sion that we do have jurisdiction to review).
                                        B.
                Like the Managerial Defendants, the Officer Defendants ar-
         gue only that there is no objective violation based on a dispute of
         the record—in other words, they raise factual challenges, not legal
         ones. For instance, they contend that Melendez’s summary chart
         documenting his showers was not entirely accurate and that
         Melendez had no outdoor recreation because he had a pattern of
         behavior in which he refused it. As the district court noted, though,
         the parties’ disagreement “over the reason” that Melendez did not
         receive showers or outdoor recreation presents questions for the
         jury. The district court found that Melendez’s evidence showed
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         14                     Opinion of the Court                 23-12424

         that he was repeatedly denied showers and that he had no outdoor
         recreation during the four years that he was held in restrictive CM.
         The Officer Defendants make no argument that, on those facts,
         Melendez fails to show a deprivation that is sufficiently serious to
         violate the Eighth Amendment.
                As to the subjective prong, the Officer Defendants present a
         closer call, but their challenges still turn on the sufficiency of the
         evidence rather than abstract questions of law.
                As an initial matter, Melendez acknowledges that the Officer
         Defendants never personally denied him outdoor recreation or
         showers. Rather, he claims that the Officer Defendants were re-
         sponsible for supervising his wing and documenting or reviewing
         his housing logs, which recorded any time that he left his cell, and
         that they failed to stop subordinates from acting unlawfully.
                 The district court determined that the evidence showed that
         Officers Brown, Hall, and Philbert worked exclusively or often
         with CM inmates and all recognized that they were responsible for
         documenting or reviewing inmate movement on housing logs. In
         addition, each Officer Defendant worked a significant number of
         shifts during which the deprivations of Melendez’s rights to out-
         door recreation and regular showers occurred. From this, the dis-
         trict court found that Melendez produced enough evidence to cre-
         ate a genuine issue of material fact as to whether the Officer De-
         fendants, in their supervisory roles, subjectively knew of the risk of
         serious harm and failed to respond in a reasonable manner.
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         23-12424               Opinion of the Court                        15

                The Officer Defendants claim that the district court “errone-
         ously determined that there is a ‘reasonable inference’ that [they]
         were deliberately indifferent under the subjective prong.” To chal-
         lenge the court’s conclusion, however, they contest the sufficiency
         of the evidence, arguing that “the record does not show that [they]
         actually knew about a risk of serious harm or disregarded that risk.”
         Similarly, they suggest that there is “no evidence” that Sergeants
         Philbert or Hall “ever denied Melendez showers or had knowledge
         that [Melendez] was allegedly being denied.” In essence, the Of-
         ficer Defendants ask us to review whether the district court cor-
         rectly found that there was a genuine dispute about whether they
         knew of Melendez’s conditions, and whether a reasonable jury
         could believe Melendez’s story. This is precisely the type of chal-
         lenge that we lack jurisdiction to review at this stage. See Flournoy,
         975 F.3d at 1277.
                 To be sure, the Officer Defendants cast some of their evi-
         dentiary challenges as issues of law. The closest the Officer De-
         fendants get to a legal argument is their contention that the district
         court never conducted an individualized analysis as to each defend-
         ant’s independent causal connection to the constitutional harm, as
         they contend is required under Saunders v. Sheriff of Brevard County,
         735 F. App’x 559 (11th Cir. 2018). But this, again, is a factual argu-
         ment repackaged as a legal one, because what the Officer Defend-
         ants actually dispute is whether “evidence in the record exists that
         [the Officer Defendants] directed anyone to act unlawfully or not
         provide showers or recreation” or whether “there was a custom or
         policy instituted by [the Officer Defendants] that resulted in
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         16                        Opinion of the Court                      23-12424

         deliberate indifference to Melendez’s constitutional rights.” But
         the Officer Defendants had to pivot to this factual argument be-
         cause the district court’s order shows that it did, in fact, consider
         the time that each individual Officer Defendant spent supervising
         Melendez’s wing during weeks where Melendez was deprived of
         showers or outdoor recreation. The district court also reviewed
         the depositions of each individual defendant and determined that
         each Officer Defendant recognized that: (1) inmates have rights,
         and not merely privileges, to regular showers and outdoor recrea-
         tion; and (2) they were responsible for documenting or reviewing
         Melendez’s housing logs which recorded any time Melendez left
         his cell to exercise or shower. We therefore conclude that, as to
         causation, the Officer Defendants failed to raise a legal question
         sufficient to invoke our interlocutory jurisdiction.
                Unlike the Officer Defendants here, the defendant in Saun-
         ders accepted the facts as construed in the plaintiff’s favor and ar-
         gued that the conduct still did not amount to deliberate indiffer-
         ence as a matter of law. 3 See 735 F.3d at 569. The Officer Defend-
         ants, in contrast, never accept the facts in the light most favorable
         to Melendez. Instead, they directly challenge the factual inferences
         that the district court drew from the evidence. For example, they
         contend that there is no causal connection because none of them


         3 We note, too, that Saunders is an unpublished case that does not bind us in

         any event. See Ray v. McCullough Payne &amp; Haan, LLC, 838 F.3d 1107, 1109 (11th
         Cir. 2016) (“In this Court, unpublished decisions, with or without opinion, are
         not precedential and they bind no one.”).
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         23-12424               Opinion of the Court                        17

         directly dealt with Melendez and his recreation or exercise, and
         they were not aware of any grievance or complaint related to his
         recreation. This is different from arguing that reasonable public
         officials could have believed that their conduct, as construed by the
         district court, was lawful based on clearly established law. See
         Flournoy, 975 F.3d at 1278 (finding that we lack interlocutory juris-
         diction when appellants merely claim that they “didn’t do” the con-
         duct at issue).
                 Like the Managerial Defendants, the Officer Defendants
         never argue that they are entitled to qualified immunity even if we
         accept that they repeatedly reviewed Melendez’s housing logs
         which showed that he was deprived of outdoor recreation and reg-
         ular showers. If that was their argument, then we would have ju-
         risdiction. Instead, they argue that Officer Hall did not review daily
         housing logs, that Officer Brown never dealt with recreation while
         working on Melendez’s wing, and that Officer Philbert had very
         few time periods in which he oversaw Melendez’s wing. As in
         Flournoy, these arguments equate to the appellants claiming that
         they “didn’t do it,” which precludes appellate review. 975 F.3d at
         1278 (quoting Johnson, 515 U.S. at 316).
                                        C.
                In sum, both the Managerial and Officer Defendants fail to
         argue that the district court erred in denying qualified immunity
         when the facts are construed in Melendez’s favor. But at this inter-
         locutory juncture, we only have jurisdiction if we accept the factual
         inferences that the district court drew from the evidence. See id.USCA11 Case: 23-12424      Document: 103-1      Date Filed: 08/20/2024      Page: 18 of 19




         18                     Opinion of the Court                  23-12424

         (“[T]o review that [factual] determination now would amount to
         nothing more than weighing the evidence supporting the district
         court’s summary judgment determination, which is precisely what
         the Supreme Court has said we cannot do at this interlocutory
         stage.”).
                 In its order denying summary judgment, the district court
         properly resolved the disputed facts in Melendez’s favor, and then
         explained how the disputed facts and evidence could allow a rea-
         sonable jury to find that both Managerial and Officer Defendants
         violated Melendez’s Eighth Amendment rights. Specifically, the
         court found that the evidence showed Melendez had been confined
         in restrictive CM for the vast majority of a five-year period, re-
         ceived little to no outdoor recreation time for years, and often was
         denied the three showers per week required under Florida Admin-
         istrative Code. On appeal, Defendants do not accept the facts as
         construed by the district court and argue that those facts still do not
         amount to a violation of a clearly established right. Rather, they
         dispute the district court’s findings as to the conditions of Melen-
         dez’s confinement. For instance, they argue that extended time in
         CM is not alone a constitutional violation. But this fails to address
         that the district court’s order was based on its finding of a combi-
         nation of conditions. They also argue that there is no evidence that
         they were responsible for Melendez’s conditions, either because
         they didn’t know or because they appropriately addressed his con-
         cerns such that they did not violate clearly established law. But the
         district court concluded that there was sufficient evidence of their
         knowledge and responsibility. And the district court determined
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         23-12424              Opinion of the Court                     19

         that the parties’ disagreement “over the reason” that Melendez was
         deprived of the showers and outdoor exercise to which he was en-
         titled are questions for the jury. We agree.
                              IV.    CONCLUSION
                 Because the Defendants have attacked only the “evidentiary
         sufficiency” supporting Melendez’s claims and the Defendants’ en-
         titlement to qualified immunity, see English, 75 F.4th at 1156, we
         dismiss this appeal for want of appellate jurisdiction.
               DISMISSED.
